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                     UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF PENNSYLVANIA



In re                                      :       Chapter 13

         Shaconda McKendrick               :
                                           :       Bankruptcy No: 18-10772

                Debtor                     :


                                         ORDER


                AND NOW, upon consideration of the Debtor(s)'

Motion for Extension of Time to File the required documents,

it is hereby

                ORDERED that the motion is GRANTED and the

debtor(s) may file their documents on or before                      March 7, 2018   .




February 27, 2018



                                            Magdeline D. Coleman
                                            United States Bankruptcy Judge


extend.frm
(11/95)
